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Honorable John D. Bates
United States District Judge
United States Courthouse
333 Constitution Avenue N.W.
Washington, D.C., 20001


RE: United States of America vs. Joly Germine Docket No.: 0090 1:21CR00699-001



Honorable Judge Bates:


My name is Jolita Jus, and I am Joly’s mother. He is my second child; my firstborn is no longer
with us. When Joly was 5 years old, I sent him to school. He continued his education until his
first year of college. Because life was challenging, I chose to emigrate to the United States in
2007, seeking a better life for us. Joly was just 15 years old when I left Haiti, still a child
attending school. It was later that I learned of the difficulties he faced in my absence.
Before leaving Haiti, I entrusted the care of Joly to my older brother and my aunt. I ran a trade
business to support my children and cover their educational expenses. I endured great hardship
to ensure they received an education. I never imagined that my child would find himself in such
a predicament. I played the roles of both mother and father to my children.
Your honor, you understand the struggles a mother endures. Joly, now representing my eldest,
finds himself in a troubling situation. Your honor, I implore you, please show mercy to him and
to me, as I am in poor health. My relatives and his father’s relatives have abandoned me, leaving
me utterly alone.
Joly had a twin who was stillborn. Your honor, I beg for your mercy and compassion. After God,
you are my only hope in this matter. I am powerless and humiliated, with no friends to turn to for
support. Even my older brother has passed away. Despite my absence, I continued to advise Joly
over the phone, urging him to stay focused on his studies and avoid negative influences. He was
a child when I left.
I plead for leniency for Joly due to my illness and poor health.
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                           CERTIFICATE OF TRANSLATION

 In compliance with 8 CFR 1003.33, I hereby certify that I, Régine
 Duroska-Murray, being at least 18 years of age, do swear and affirm
 that I am competent to translate from Haitian-Creole into English and
 English into Haitian Creole, and that the foregoing translation of a
 letter from Jolita Jus written in Haitian Creole, addressed to Judge
 John D. Bates in the matter of United States of America vs. Joly
 Germine Docket No.: 0090 1:21CR00699-001 is a faithful translation to
 the best of my ability.

 Executed on the 23rd day of May 2024.




Régine Duroska-Murray
Translator/ Transcriber and Interpreter, Haitian-Creole : English and French : English
